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                  IN THE UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF INDIANA
                           INDIANAPOLIS DIVISION
_________________________________________

In Re: COOK MEDICAL, INC., IVC FILTERS
MARKETING, SALES PRACTICES AND                                 Case No. 1:14-ml-2570-RLY-TAB
PRODUCTS LIABILITY LITIGATION                                                    MDL No. 2570
_________________________________________

This Document Relates to:

1:22-cv-01440
1:22-cv-01447
1:22-cv-01470


                                 APPEARANCE OF COUNSEL

To: The Clerk of Court and all parties of record:

       I am admitted or otherwise authorized to practice in this Court, and I appear in this case
as counsel for:

         Cook Medical LLC (which is alleged in some cases to be also known as “Cook
         Medical, Inc.”);
         Cook Incorporated (which is alleged in some cases to be doing business as “Cook
         Medical”); and
         William Cook Europe ApS

Dated:          August 5, 2022               /s/ Kip S. M. McDonald
                                             Andrea Roberts Pierson (# 18435-49)
                                             Kip S. M. McDonald (# 29370-49)
                                             FAEGRE DRINKER BIDDLE & REATH LLP
                                             300 North Meridian Street, Suite 2500
                                             Indianapolis, Indiana 46204
                                             Telephone: (317) 237-0300
                                             Facsimile: (317) 237-1000
                                             E-Mail: andrea.pierson@faegredrinker.com
                                             E-Mail: kip.mcdonald@faegredrinker.com
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                                CERTIFICATE OF SERVICE

       I hereby certify that on August 5, 2022, I electronically filed the foregoing document

with the Clerk of the Court using the CM/ECF system which will send notification of such

filing to the CM/ECF participants registered to receive service in this MDL.


                                                    /s/ Kip S. M. McDonald




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